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          11   Proposed Attorneys for Home Loan Center, Inc.

          12                                UNITED STATES BANKRUPTCY COURT
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•a I g    13                                NORTHERN DISTRICT OF CALIFORNIA
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S "< d                                                     SAN JOSE DIVISION
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CO < ^         In re:                                                Case No.: 19-51455 MEH 11
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               HOME LOAN CENTER, INC.,                               Chapter 11
          16

          17
                                                 Debtor.             SUBMISSION OF SCHEDULES OF ASSETS
                                                                     AND LIABILITIES AND STATEMENT OF
          18                                                         FINANCIAL AFFAIRS

          19                                                          [No hearing required]
          20

          21

          22

          23

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          26            Home Loan Center, Inc., debtor herein, hereby submits its Schedules of Assets and
          27   Liabilities and Statement of Financial Affairs.

          28


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